                                                                    August 11, 2016




                                  JUDGMENT

                 The Fourteenth Court of Appeals
                      ROYCE GENE ADAMS III, Appellant

NO. 14-15-00589-CR
NO. 14-15-00590-CR                          V.

                        THE STATE OF TEXAS, Appellee


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      These consolidated causes were heard on their respective records. Having
inspected the records, this Court finds no error in any of the four judgments.
       In Cause No. 14-15-00589-CR, this Court orders the judgments of the court
below as to Count I and Count II AFFIRMED. We further order appellant to pay
all costs incurred in this appeal. We further order this decision certified below for
observance.
       In Cause No. 14-15-00590-CR, this Court orders the judgments of the court
below as to Count I and Count II AFFIRMED. We further order appellant to pay
all costs incurred in this appeal. We further order this decision certified below for
observance.
